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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                )
SCOTT LAIRD,                    ) CIVIL ACTION NO.
                                )
                Plaintiff,      )
                                )
      v.                        )
                                ) JURY TRIAL DEMANDED
FEDEX SUPPLY CHAIN.             )
                                )
                Defendant.      ) ELECTRONICALLY FILED
                                )

                                  COMPLAINT

      Plaintiff, Scott Laird, a resident of Cumberland County, Pennsylvania, by

and through his attorneys, brings this civil action for damages against the above-

named Defendant, FedEx Supply Chain, demands a trial by jury, and complains

and alleges as follows:

                                 THE PARTIES

      1.      Plaintiff, Scott Laird (hereinafter referred to as “Mr. Laird” or

“Plaintiff”) is an adult individual who currently resides at 2228 Canterbury Dr.,

Mechanicsburg, Cumberland County, Pennsylvania 17055.

      2.      Defendant, FedEx Supply Chain, (hereinafter referred to as “FedEx”

or “Defendant”) has its corporate headquarters located at 700 Cranberry Woods

Drive, Cranberry Township, Butler County, Pennsylvania 16066.
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      3.      At all times relevant and material hereto, Defendant employed more

than one-hundred (100) people, and operated a facility at 4900 Ritter Rd., #120,

Mechanicsburg, Cumberland County, Pennsylvania 17055.

                          JURISDICTION AND VENUE

      4.      This Complaint alleges violations of the Uniformed Services

Employment and Reemployment Rights Act of 1994, 38 U.S.C. §4301-4335

(hereinafter referred to as “USERRA”)

      5.      This Honorable Court has jurisdiction of this matter, case, and

controversy pursuant to 28 U.S.C. §§ 1331 and 1343(a)(4).

      6.      Declaratory relief is sought pursuant to 28 U.S.C. §§ 2201 and 2202.

Venue is proper in the Middle District of Pennsylvania pursuant to 28 U.S.C. §

1391(b) because a substantial part of the events or omissions giving rise to these

claims occurred in this Judicial District.

                            STATEMENT OF FACTS

      7.      Mr. Laird has worked for FedEx Supply since early 2015.

      8.      Mr. Laird was originally hired to be a Senior Account Manager, then

was moved into a Solutions Architect role.

      9.      Beginning on or about October of 2017, Mr. Laird began to face

discrimination and harassment based on his status as an active member of the

Army National Guard.


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      10.   The discrimination and harassment flowed primarily from Mr. Laird’s

supervisor, Raj Sharma (hereinafter “Ms. Sharma”).

      11.   Ms. Sharma made negative statements to Mr. Laird about his leave for

training with the National Guard. For instance, Ms. Sharma commented that Mr.

Laird was being an inconvenience to the team, that Mr. Laird should have done

more to prepare his team prior to leaving for training, that Mr. Laird “needs to do

better, or this will turn out bad,” and overtly suggesting that Mr. Laird was

“manipulating” the system for leave in order to drill with the National Guard.

      12.   Ms. Sharma’s comments regarding the trouble Mr. Laird’s team had

while he was away and that his team was not prepared for his leave properly were

unfounded and were debunked each time Mr. Laird would talk with his team

members upon returning from military leave.

      13.   On multiple occasions, Ms. Sharma made Mr. Laird purchase air

cards so that he would be available to do work for FedEx Supply via phone and

internet while on National Guard leave.

      14.   Ms. Sharma forced Mr. Laird to attend meetings via internet and or

perform FedEx Supply work via phone on multiple occasions while he was away

on National Guard leave.

      15.   Mr. Laird made complaints to the Human Resources Department at

FedEx Supply about Ms. Sharma’s requirement that he attend work meetings


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remotely while in full uniform; however, Mr. Laird’s complaints did not result in

any change of Ms. Sharma’s behavior.

      16.   Ms. Sharma made it difficult for Mr. Laird to use his personal

vacation time around any National Guard leave out of retaliation for Mr. Laird

taking part in both required and optional National Guard training.

      17.   Ms. Sharma made statements to Mr. Laird about how she and the

Human Resources Manager at the time were both convinced that Mr. Laird was

trying to manipulate the system and take advantage of them and FedEx Supply.

      18.   Upon information and belief, the statements about Mr. Laird trying to

manipulate the system were directly in retaliation for his taking part in National

Guard training.

      19.   Upon information and belief, the statements made towards Mr. Laird

regarding his personal vacation requests and about him trying to manipulate the

system were not made to other employees of FedEx Supply who made similar

requests for vacation but who were not members of the military.

      20.   Specifically, on or about November 13, 2017, Mr. Laird made a

request to attend voluntary training with the National Guard to begin on November

20, 2017. This request was denied by Ms. Sharma.




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      21.    On November 14, 2017, Mr. Laird made another request for the

November 20, 2017 leave, which was denied by Aileen Coburn in Human

Resources.

      22.    Mr. Laird again properly requested the November 20th leave on

November 15, 2017, which again was denied by Ms. Sharma.

      23.    It was not until Mr. Laird appealed the decision(s) of Ms. Sharma and

Human Resources to upper management, that the matter was finally resolved, and

his leave was approved.

      24.    The difficulty, discrimination, harassment, and retaliatory behavior

Mr. Laird faced from Ms. Sharma and other members of management, simply for

being an active member of the Army National Guard, was ongoing and severe.

      25.    The discrimination, harassment, and retaliation Mr. Laird faced from

Ms. Sharma and from other management at FedEx Supply was reported many

times to Human Resources and upper management.

      26.    FedEx Supply provides “differential pay” to members of the military

when they are on military leave for deployment or training.

      27.    The differential pay is meant to bridge the gap between the pay the

employee receives from the military while deployed or training, and the pay which

they would otherwise enjoy while working at FedEx Supply.




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      28.   Mr. Laird was provided differential pay when he was deployed and

when he was at training, however, Mr. Laird was not provided full pay for those

multiple instances on which he was required to be actively working for FedEx

Supply by attending meetings or conferences remotely or during which he was

required to be “on call” for FedEx Supply while at National Guard training.

      29.   Mr. Laird was not reimbursed for the air cards he was required to

purchase in order to be on-call or available for meetings and phone calls while on

leave for National Guard training.

      30.   Mr. Laird was forced to expend many hours of his personal time in

following up with vacation and leave requests which were the responsibility of

FedEx Supply to properly handle.

      31.   Mr. Laird was placed in an uncomfortable position at FedEx Supply

each time he requested National Guard leave or deployment, and each time he

returned from leave or deployment as a result of embarrassing and humiliating

statements stemming from Ms. Sharma.

                                     COUNT I

                            USERRA VIOLATIONS

      32.   All prior paragraphs are incorporated herein as if set forth fully below.

      33.   As a member of the Army National Guard, Mr. Laird was and remains

protected by USERRA.


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      34.    USERRA prohibits any adverse action being taken against any active

member of the military if the membership in the military is a motivating factor in

the adverse action.

      35.    USERRA prohibit expressions of hostility from decision makers

towards protected military members.

      36.    USERRA prohibits disparate treatment of protected military

employees when compared to similarly-situated non-military employees.

      37.        At all times relevant herein, FedEx Supply acted by and through its

agents, servants, and employees, to make Mr. Laird jump through hoops and

undertake unnecessary steps and inconveniences when he requested leave for the

Army National Guard.

      38.        At all times relevant herein, FedEx Supply acted by and through its

agents, servants, and employees, to retaliate against Mr. Laird when he was

requested leave for the Army National Guard.

      39.        At all times relevant herein, FedEx Supply acted by and through its

agents, servants and employees, in a discriminatory manner by failing to pay Mr.

Laird appropriately when he was required to be on call while on leave for the

Army National Guard and by failing to reimburse him for costs associated with his

being on call.




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      40.     The actions of Defendant set forth above constitute violations of Mr.

Laird’s federal civil rights under USERRA.

      41.     As a result of this retaliation, Mr. Laird has suffered economic loss,

emotional distress, and a loss of self-respect and confidence, and his standing in

the community has been damaged.

      WHEREFORE, Plaintiff, Scott Laird, prays that this Honorable Court enters

judgment in his favor and against Defendant, FedEx Supply, and that it enters an

Order as follows:

      a.      Defendant is to be permanently enjoined from harassing or

              retaliating against Mr. Laird on the basis of his Army National

              Guard status, or any basis prohibited under applicable federal

              law;

      b.      Defendant is to be prohibited from continuing to maintain its

              illegal policy, practice, or custom of harassing or retaliating

              against employees based on their Army National Guard status,

              or any basis prohibited under applicable federal law, and are to

              be ordered to promulgate an effective policy against such

              harassment and retaliation and to adhere thereto;

      c.      Defendant is to compensate Mr. Laird, reimburse Mr. Laird,

              and to make Mr. Laird whole for any and all pay and benefits


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        he would have received had it not been for Defendant’s illegal

        actions, including but not limited to back pay, front pay, salary,

        pay increases, bonuses, medical and other benefits, training,

        promotions, pension and seniority.          Mr. Laird should be

        accorded those benefits illegally withheld from the date he first

        suffered harassment and retaliation at the hands of Defendant

        until the date of verdict;

d.      Mr. Laird is to be awarded actual damages, as well as liquidated

        damages for any harm or injury caused to him by Defendant’s

        actions;

e.      All   damages     available   under   the   Uniformed      Services

        Employment and Reemployment Rights Act, including but not

        limited to attorney’s fees and liquidated damages;

f.      Mr. Laird is to be accorded any and all other equitable and legal

        relief as the Court deems just, proper, and appropriate;

g.      Mr. Laird is to be awarded the costs and expenses of this action

        and reasonable legal fees as provided by applicable federal law;

h.      Mr. Laird is to be granted such additional injunctive or other

        relief as he may request during the pendency of this action in an

        effort to ensure Defendant does not engage - or ceases engaging


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               - in illegal retaliation against Mr. Laird or other witnesses to

               this action; and

      i.       The Court is to maintain jurisdiction of this action after verdict

               to ensure compliance with its Orders therein.

                                   DEMAND FOR JURY

      Pursuant to Federal Rule of Civil Procedure 38(b) and otherwise, Mr. Laird

respectfully demands a trial by jury.

                                         Respectfully submitted,

                                         Weisberg Cummings, P.C.

  January 11, 2019                       /s/ Stephen P. Gunther
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